      Case: 2:16-cv-01084-EAS-KAJ Doc #: 59 Filed: 11/07/17 Page: 1 of 2 PAGEID #: 963


                                  IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO, EASTERN DIVISION

CAROL A. WILSON, et al.,                               )     Case No.: 2:16-cv-1084
                                                       )
             Plaintiffs,                               )     Chief Judge Edmund A. Sargus
                                                       )
vs.                                                    )     Magistrate Judge Kimberly A. Jolson
                                                       )
CHAGRIN VALLEY STEEL                                   )
ERECTORS, INC., et al.                                 )     DEFENDANT’S / THIRD-PARTY
                                                       )     PLAINTIFF’S MOTION FOR SUMMARY
             Defendant / Third-Party Plaintiff         )     JUDGMENT

              Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant / Third-Party Plaintiff

Chagrin Valley Steel Erectors, Inc. (“Chagrin Valley”) respectfully requests that this Court grant

summary judgment in its favor on Plaintiffs’ complaint against Chagrin Valley (ECF No. 1), and on

Chagrin Valley’s counterclaim against Plaintiffs and Chagrin Valley’s third-party complaint against

Justin Helmick (“Helmick”) (ECF Nos. 7 and 29).

              In the interest of brevity, Chagrin Valley hereby submits its Brief in Opposition to Plaintiffs’

and Helmick’s Motion for Summary Judgment against Chagrin Valley, and all exhibits are related

filings thereto (all of which are being filed simultaneously with this Motion) in support of this Motion,

as if fully rewritten herein, in lieu of the memorandum of support.

                                                     Respectfully submitted,

                                                     /s/    Melissa A .Jones
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00460558-1
 Case: 2:16-cv-01084-EAS-KAJ Doc #: 59 Filed: 11/07/17 Page: 2 of 2 PAGEID #: 964



                               CERTIFICATE OF SERVICE

        A copy of the foregoing was filed electronically on November 7, 2017. Notice of this
filing will be sent to all parties by operation of the Court’s electronic filing system.


                                            /s/ Melissa A. Jones
                                            One of the Attorneys for Defendant /
                                            Third-Party Plaintiff




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